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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

DONALD ANDERSON,

      Plaintiff,
v.                                                 Case No.: 8:18-cv-901-T-35AAS

THADDEUS MICHAEL BULLARD
SR. a/k/a TITUS O’NEIL, and WORLD
WRESTLING ENTERTAINMENT, INC.,

      Defendants.
________________________________________/

                                       ORDER

      Donald Anderson (“Anderson”) moves for an order directing Thaddeus Michael

Bullard Sr. a/k/a Titus O’Neil (“Bullard”) to provide responses to Anderson’s Request

to Produce and Interrogatories. (Doc. 43). According to the motion, Bullard has not

provided these discovery responses.1 (Id.). Bullard has not responded to the motion,

even after being directed by the court to do so. (Doc. 46).

      Accordingly, it is ORDERED that Anderson’s Motion to Compel Bullard to

Respond to Request for Production and Interrogatories (Doc. 43) is GRANTED.

Bullard must provide Anderson with discovery responses by February 8, 2019.




1Although discovery is stayed as to the World Wrestling Entertainment, Inc., it is
not stayed as to Bullard. (See Doc. 42).
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      ORDERED in Tampa, Florida on January 23rd, 2019.




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